                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE

RONALD OSBORNE,             )
                            )
     Plaintiff,             )
                            )                                 Case No. 3:18-cv-00390
v.                          )                                 Judge Trauger
                            )
THE METROPOLITAN GOVERNMENT )
OF NASHVILLE AND DAVIDSON   )
COUNTY, TENNESSEE,          )
                            )
     Defendant.             )


                         MOTION TO DISMISS THE AMENDED COMPLAINT
                           AND MEMORANDUM OF LAW IN SUPPORT
                                             [FED. R. CIV. P. 12(b)(6)]




               The Defendant Metropolitan Government hereby submits this motion to dismiss and

memorandum of law in support under FED. R. CIV. P. 12(b)(6).

                                                     FACTS

               Plaintiff brings suit against Metro under the Medicare Secondary Payer Act, 42 U.S.C. §

1395y(b)(3)(A), seeking an order requiring Metro to reimburse Medicare for medical

expenditures made on Plaintiff’s behalf. (Am. Compl., Doc. No. 15, ¶¶ 5.14, 6.1-6.3.) Plaintiff

has also recently amended his complaint to allege that he has suffered his own financial harm.

(Am. Compl., Doc. No. 15, ¶ 5.16.)

               Plaintiff was injured at a trash disposal center operated by Metro and later obtained a

judgment against Metro, as the tortfeasor, under the Governmental Tort Liability Act. (Am.

Compl., Doc. No. 15, ¶¶ 5.3-5.6, Circuit No. 15C-320.) Metro appealed the judgment, but the

Tennessee Court of Appeals affirmed it on February 22, 2018. (Am. Compl., Doc. No. 15, ¶¶

5.7-5.8.)

{N0210501.1}                                             1

        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 1 of 6 PageID #: 74
               On April 23, 2018, the 60-day time limit within which to seek Supreme Court review

expired. TENN. R. APP. P. 11(b).

               On April 24, 2018, Plaintiff filed this lawsuit. (Compl., Doc. No. 1.)

               On May 2, 2018, the Court of Appeals filed its mandate with the trial court, closing the

case. (Court of Appeals’ mandate, Doc. No. 7-1. 1)

                                                  DISCUSSION

I.             Plaintiff does not have standing to sue on behalf of Medicare.

               In Bio-Medical v. Central States, 656 F.3d 277 (6th Cir. 2011) the Sixth Circuit explained

that the Medicare Secondary Payer Act only allows Medicare to sue the tortfeasor for

reimbursement under the Act, not the original private party who had been injured, “…Congress

intended to permit lawsuits against tortfeasors only by Medicare, and not lawsuits against

tortfeasors by private parties.” Bio-Medical, 656 F.3d at 292-93 (6th Cir. 2011) (MERRITT, J.)

(emphasis in the original).

               In April of this year, the Sixth Circuit reiterated this conclusion, stating, “Because the

Medicare Secondary Payer Act is not a qui tam statute, the financial injury suffered by the

government does not confer standing upon other parties.” Gucwa v. Lawley, No. 17-1823, 2018

WL 1791994, *4 (6th Cir. Apr. 16, 2018) (MERRITT, J.) (citation omitted).

               Plaintiff brings this lawsuit against Metro under the enforcement provisions of the Act,

42 U.S.C. § 1395y(b)(3)(A). Plaintiff’s claims are aimed, in part, at seeking reimbursement to

Medicare for the conditional payments that it made on Plaintiff’s behalf. (Am.Compl., Doc. No.

15, ¶ 5.14; and ad damnum ¶ 2, “That Plaintiff be awarded a judgment for the conditional



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       Court orders and other matters of public record may be considered by the Court in ruling
on a Rule-12 motion without converting the motion into one for summary judgment. E.g., Amini
v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir. 2001).
{N0210501.1}                                            2

        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 2 of 6 PageID #: 75
payment amount paid on Mr. Osborne’s behalf for expenditures conditionally made and for

which the Defendant was a primary payer…”)

               However, because the Act is not a qui tam statute (Gucwa at *4), and because the Act

permit lawsuits against tortfeasors only by Medicare, and not such lawsuits by private parties

(Bio-Medical at 292-93), Plaintiff does not have standing to bring this suit on behalf of

Medicare.

               Accordingly, Plaintiff does not have standing, and his claims on behalf of Medicare

should be dismissed under Rule 12 for failure to state a claim upon which relief may be granted.

II.            Plaintiff cannot bring suit under the Act based upon his individual claims.

               Plaintiff reads the recent Gucwa decision (April 2018) to mean that private parties may

sue tortfeasors, provided that the plaintiffs assert their own, individual, financial loss, such as a

loss derived from paying co-pays, deductibles, and the like. (Doc. No. 9, PageID#61; Gucwa at

*5.)

               However, the Gucwa case did not involve a tort (as does our case). Instead, it involved a

no-fault incident at work, triggering workers’ compensation insurance coverage, where the

insurance administrator (Accident Fund) initially assumed, and paid for, certain types of medical

care and then later terminated such payments. Gucwa at *1. Accordingly, the theoretical private-

party case that the Sixth Circuit was referring to in Gucwa arises when a primary plan is

obligated to pay from the outset (such as, in that case, a workers’ compensation plan which had,

from the beginning, assumed expenses for the injured party’s care giver, under a no-fault

scenario) and then later terminates further payments, thereby “failing to pay,” causing financial

injury. Gucwa at *4.




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        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 3 of 6 PageID #: 76
               In the context of tort 2, as Judge Merritt explained in Bio-Medical, we must apply the

Act’s “demonstrated responsibility” provision. Bio-Medical at 290-91. “That provision states

that a primary plan must reimburse Medicare only if its responsibility to pay has been

demonstrated, which can occur through a judgment, settlement, or other means.” Bio-Medical at

290 (quotation mark omitted); citing 42 U.S.C. § 1395y(b)(2)(B)(ii). In a tort case, “no evidence

of responsibility exists until it is adjudicated ex post.” Bio-Medical at 291 (parentheses omitted).

               Here, because our underlying case was a tort case, and was not a case where the

obligation to pay was already in place before the event occurred, or “ex ante” (to use Judge

Merritt’s term, Bio-Medical at 291), there is no such thing as a “failure to pay” under the Act,

until the case has been fully adjudicated, with the judgment then left unsatisfied. 3

III.           There can be no finding of a “failure to pay” on the part of Metro since the
               underlying tort case was only recently concluded.

               As discussed above, “…Congress intended to permit lawsuits against tortfeasors only by

Medicare, and not lawsuits against tortfeasors by private parties.” Bio-Medical, at 292-93

(emphasis in the original).

               Here, even if Medicare (rather than the beneficiary) had decided to bring this suit against

Metro, the fact that the mandate was only recently filed (May 2, 2018, Doc. No. 7-1), and the

fact that there is no indication in the Complaint that the judgment against Metro will not be paid

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        Again, a situation where only Medicare is permitted to be the Plaintiff. Bio-Medical, 656
F.3d at 292-93 (6th Cir. 2011).
3
        Plaintiff argues that, in Michigan Spine v. State Farm, 758 F.3d 787 (6th Cir. 2014), the
Sixth Circuit backed away from its rulings in Bio-Medical as being dicta. However, the
discussion of dicta in that case only pertained to whether Bio-Medical applies to non-group
health plans. Michigan Spine at 792. And, that case had nothing to do with tort. Instead, it
involved a situation (like the situation in Gucwa) where the obligation to pay had been
established “ex ante.” There, the injured party was “State Farm’s insured” (Mich. Spine at 788)
where an insurance contract had been in place for the injured party’s benefit, from the outset.


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        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 4 of 6 PageID #: 77
like any other judgment, now that the mandate has issued, then there cannot be a finding of a

“failure to pay” as contemplated by the Act. See Bio-Medical at 291-93.

               Also, the Plaintiff was found to be 20% at fault (Doc. No. 7-1, PageID# 39), and the

percentages of fault were some of the very issues that had been debated on appeal. (Id. at

PageID# 40-41.)            Accordingly, Metro’s responsibility to pay in this case was not fully

adjudicated, or “demonstrated,” until the appeals had been concluded.

               Importantly, Plaintiff makes no mention of the fact that 20% of the harm that he alleges

can be attributed to Plaintiff himself. Nor does he allege how or in what manner any of his

alleged harm can be tied to a point in time after May 2018, when the underlying tort case had

been fully adjudicated, and Metro’s responsibility to pay as the 80% tortfeasor, had been

“demonstrated” as contemplated under the Act. Iqbal, 556 U.S. 662 (2009) (to survive a motion

to dismiss, a plaintiff must “state a claim to relief that is plausible on its face”).

                                                CONCLUSION

               For the foregoing reasons, Plaintiff’s claims should be dismissed under Rule 12 for

failure to state a claim upon which relief may be granted.



                                                   Respectfully submitted,

                                                   THE DEPARTMENT OF LAW OF THE
                                                   METROPOLITAN GOVERNMENT OF
                                                   NASHVILLE AND DAVIDSON COUNTY
                                                   JON COOPER, #23571
                                                   DIRECTOR OF LAW

                                                   /s/ J. Brooks Fox
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        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 5 of 6 PageID #: 78
                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was served via the court’s CM/ECF system
to: James Bryan Moseley, Attorney for Plaintiff, 237 Castlewood Drive, Suite D, Murfreesboro,
TN 37129 on June 7, 2018.

                                           /s/ J. Brooks Fox
                                           J. Brooks Fox




{N0210501.1}                                  6

        Case 3:18-cv-00390 Document 16 Filed 06/07/18 Page 6 of 6 PageID #: 79
